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                             UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEVADA


 IN RE:                                                      BK−14−50333−gs
                                                             CHAPTER 7
 ANTHONY THOMAS and WENDI THOMAS
                                                             Appeal Reference Number:           19−27
                                  Debtor(s)                  BAP Number:                        NV−19−1184


                                                             STATUS REPORT
 ANTHONY G. THOMAS                                           REGARDING RECORD
                                  Appellant(s)               ON APPEAL

 vs

 unknown− party(ies) not listed
                                  Appellee(s)




To:          Bankruptcy Appellate Panel
             125 South Grand Avenue,
             Pasadena, CA 91105

             U.S. Trustee


The record on the above−entitled appeal has not been forwarded for the following reason(s):

      *   No Designation of Record Filed
      *   No Statement of Issues Filed




Dated: 8/6/19


                                                          Mary A. Schott
                                                          Clerk of Court
